      Case 1:18-cv-02223-GBD-SN Document 217 Filed 11/24/20 Page 1 of 3




                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK

 JOEL RICH AND MARY RICH,

                 Plaintiffs,

                          v.                           Civil Action No. 1:18-cv-02223 (GBD)
 FOX NEWS NETWORK, LLC, MALIA
 ZIMMERMAN, AND ED BUTOWSKY,

                 Defendants.


                               JOINT STIPULATION OF DISMISSAL


       IT IS STIPULATED AND AGREED by and between Plaintiffs Joel and Mary Rich and

Defendants Fox News Network, LLC, Malia Zimmerman, and Edward Butowsky, that pursuant

to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, the claims by Joel and Mary Rich

against all Defendants are dismissed with prejudice, and each party waives all right to appeal and

to seek attorneys’ fees and costs.

       Dated: November 24, 2020

                                                    By:     s/ Elisha Barron

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       Case 1:18-cv-02223-GBD-SN Document 217 Filed 11/24/20 Page 2 of 3




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                                       2
7596402v1/015730
       Case 1:18-cv-02223-GBD-SN Document 217 Filed 11/24/20 Page 3 of 3




                                   CERTIFICATE OF SERVICE

          I hereby certify that on November 24, 2020, I electronically filed the foregoing with the

Clerk of the Court using the ECF system, which sent notification of such filing to all counsel of

record.


                                                       /s/ Elisha Barron




                                                   3
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